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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

SUSANNAH WARNER KIPKE, et al.,              *

       Plaintiffs,                          *

v.                                          *         Civil Action No. GLR-23-1293
                                                      Member Case: GLR-23-1295
WES MOORE, et al.,                          *

       Defendants.                          *

                                         ***
                                        ORDER

      For the reasons stated in the foregoing Memorandum Opinion, it is this 2nd day of

August, 2024 by the United States District Court for the District of Maryland, hereby:

      ORDERED that Plaintiffs’ Motions for Summary Judgment (ECF Nos. 13, 18) are

GRANTED IN PART and DENIED IN PART;

      IT IS FURTHER ORDERED that Plaintiffs’ Motions for Summary Judgment are

GRANTED as to the claims regarding Maryland’s laws restricting the carrying of firearms

in: (1) locations selling alcohol for onsite-consumption, Md. Code Ann., (2023), Crim.

Law § 4-111(a)(2)(8)(i); (2) private buildings or property without the owner’s consent,

Crim. Law § 6-411(d); and (3) within 1,000 feet of a public demonstration, Md. Code Ann.,

(2016), Crim. Law § 4-208;

      IT IS FURTHER ORDERED that the Court DECLARES that these three provisions

violate the Second Amendment;

      IT IS FURTHER ORDERED that State Defendants are ENJOINED from enforcing

these laws, and any regulations, policies, and practices implementing the enjoined
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provisions, as to persons who have a valid wear-and-carry permit issued by the Maryland

State Police;

       IT IS FURTHER ORDERED that judgment is ENTERED in favor of Plaintiffs on

these three claims;

       IT IS FURTHER ORDERED that Plaintiffs’ Motions for Summary Judgment are

DENIED in all other respects;

       IT IS FURTHER ORDERED that State Defendants’ Cross Motions for Summary

Judgment (ECF Nos. 21, 23) are GRANTED IN PART and DENIED IN PART;

       IT IS FURTHER ORDERED that State Defendants’ Motions for Summary

Judgment are GRANTED as to the claims regarding firearm carry restrictions in: (1)

museums; (2) healthcare facilities; (3) State parks, State forests, and Chesapeake Forest

Lands; (4) mass transit facilities; (5) schools and school grounds; (6) government

buildings; and (7) stadiums, racetracks, amusement parks, and casinos. State Defendants’

Motions for Summary Judgment are also GRANTED as to the Fourteenth Amendment Due

Process and Equal Protection Claims (Counts III and IV of the Kipke Complaint);

       IT IS FURTHER ORDERED that judgment is ENTERED in favor of State

Defendants on those claims;

       IT IS FURTHER ORDERED that State Defendants’ Motions for Summary

Judgment are otherwise DENIED;




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IT IS FURTHER ORDERED that the Clerk shall CLOSE these consolidated cases.



                                                 /s/
                                     George L. Russell, III
                                     United States District Judge




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